Case 24-11098-pmm         Doc 19     Filed 04/23/24 Entered 04/23/24 17:30:15              Desc Main
                                    Document      Page 1 of 1
                              United States Bankruptcy Court
                              Eastern District of Pennsylvania
In re:                                                Case No. 24-11098-pmm

         Joseph P. Watkins,                           Chapter 13

                       Debtor.



                                       Certificate of Service

       I certify that on this date, I did cause a copy of the documents described below to be
electronically served on all parties on the clerk’s service list that are registered to receive notices
through the CM/ECF system.

    §    Debtor’s Motion to Approve Electronic Signature

    §    Notice of Debtor’s Motion to Approve Electronic Signature, Response Deadline, and
         Hearing Date



Date: April 23, 2024
                                                   Michael I. Assad (#330937)
                                                   Cibik Law, P.C.
                                                   1500 Walnut Street, Suite 900
                                                   Philadelphia, PA 19102
                                                   215-735-1060
                                                   help@cibiklaw.com
